                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   3:14-CR-002
                                                )
ERIC R. SIZEMORE                                )

                           MEMORANDUM AND ORDER

        This criminal case is before the court on the defendant’s pro se motion for

sentence reduction [doc. 957], which has been rendered moot by the supplemental motion

filed by counsel [doc. 1017]. Through counsel, the defendant asks the court to reduce his

sentence pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782

and 788 to the United States Sentencing Guidelines Manual (“U.S.S.G.”).               The

government has responded [doc. 1027], deferring to the court’s discretion whether and to

what extent to grant any such reduction, subject to the limitations of 18 U.S.C. §

3582(c)(2) and U.S.S.G. § 1B1.10.

I.      Authority

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).       One such exception is identified in 18 U.S.C. §

3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2015).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.

       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

1B1.10(b)(1) (2015). The court “shall not” reduce a defendant’s term of imprisonment

to a term “less than the minimum of the amended guideline range,” nor to a term “less

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than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

(C). 1 In addition, the commentary to guideline 1B1.10 provides that a court must also

consider the § 3553(a) sentencing factors and the danger to the public created by any

reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may also consider a

defendant’s post-sentencing conduct. See id.

II.      Factual Background

         By judgment dated July 8, 2014, this court sentenced the defendant to a term of

imprisonment of 78 months as to Count One (a methamphetamine conspiracy). The

defendant’s guideline range was 108 to 135 months, based on a total offense level of 29

and a criminal history category of III. However, the statute of conviction required a 120-

month mandatory minimum sentence. The defendant’s guideline range thereby became

120 to 135 months.

         Prior to sentencing, the United States filed a motion for downward departure

pursuant to U.S.S.G. § 5K1.1 and 18 U.S.C. § 3553(e). The court granted the motion and

departed downward to 78 months, a reduction of 35 percent from the bottom of the

restricted guideline range. According to the Bureau of Prisons, the defendant is presently

scheduled for release on September 16, 2019.




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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
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III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 87 to 108

months, based on a total offense level of 27 and a criminal history category of III. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission. Applying

U.S.S.G § 1B1.10(c), a corresponding 3553(e) departure may be applied without regard

to the mandatory minimum sentence.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction.

IV.    Conclusion

       For the reasons stated herein, the defendant’s pro se motion for sentence reduction

[doc. 957] is DENIED AS MOOT, and the supplemental motion filed by counsel [doc.

1017] is GRANTED. The defendant’s term of imprisonment is reduced to 57 months.

This sentence includes a corresponding 35 percent substantial assistance reduction from

the bottom of the new guideline range.




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       Except as provided above, all provisions of the judgment dated July 8, 2014, shall

remain in effect.

              IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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